     Case 1:20-cv-02245-EGS-GMH Document 146 Filed 10/28/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 P.J.E.S., A MINOR CHILD, by and through
 his father and NEXT FRIEND, Mario Escobar
 Francisco, on behalf of himself and others
 similarly situated,

                     Plaintiff,
                                                     Civil Docket No. 1:20-cv-02245-EGS-GMH
        v.

 ALEJANDRO MAYORKAS, Secretary of
 Homeland Security, et al.,
                     Defendants.


                                             ORDER

       Upon consideration of the parties’ October 31, 2022 Joint Status Report, it is hereby

ORDERED that the following deadlines shall govern Defendants’ motion to dismiss this case as

moot or, in the alternative, for relief from this Court’s preliminary injunction order:

                November 22, 2022: Defendants to file memorandum of law in support of motion
                 to dismiss this case as moot or, in the alternative, for relief from this Court’s
                 preliminary injunction order

                January 9, 2023: Plaintiff to file response to Defendants’ motion

                January 23, 2023: Defendants to file reply in support of motion
                                                                      Digitally signed by G.
                                                                      Michael Harvey
                                                                      Date: 2022.10.28 16:20:02
DATED: ____________                                   ____________________________
                                                                      -04'00'
                                                      G.         Michael         Harvey,
                                                      U.S.        Magistrate         Judge
